                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )
V.                                          )        NO: 2:11-00003-2
                                            )        JUDGE SHARP
JOSHUA EDWARD CALDWELL                      )


                                            ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 253) to which the Government does not oppose.

       The motion is GRANTED and the sentencing set for August 9, 2013, is hereby continued

to Monday, December 9, 2013, at 2:30 p.m.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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